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                    UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA TRAILER                   )     MDL NO. 2:07-MD-1873
FORMALDEHYDE PRODUCT                  )
LIABILITY LITIGATION                  )     SECTION “N” (5)
                                      )
THIS DOCUMENT IS RELATED TO:          )     JUDGE ENGELHARDT
                                      )
ALL CASES                             )     MAGISTRATE JUDGE CHASEZ



                     FINAL ORDER AND JUDGMENT




            TO BE SUBMITTED PENDING INSTRUCTIONS OF COURT
